                        IN THE UNITED STSES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE




JEFFERY S. NICHOLS,

        Plaintiff,                                    )
                                                      }

V.                                                    )       Case #; 03:22-cv-01004
                                                              Judge Trauger/Frensley
                                                      }       Jury Demand

WILLIAM B. LEE, Governor of the State of              )
Tennessee; DAVID B. RUASCH, Director of               )
the Tennessee Bureau of Investigation; and            )
FRANK STRADA, Commissioner of the                                                 RECEIVED
Tennessee Department of Correction, in their          )
official capacities.                                  j                              MAR 2 8 2®24
        Defendants.                                                               U.S. District Court
                                                                              M   fiddle District of T'?q




                     MOTION TO ADMINISTRATIVELY STAY THIS CASE
                      PENDING RULING IN SIXTH CIRCUIT APPEAL




        The Plaintiff respectfully moves the Court to suspend discovery and deadlines, and

administratively stay this case, with an exception to the Motion for Partial Summary Judgment,

until after the Sixth Circuit rules on the merits of a pending appeal that the Plaintiff believes will

directly impact this litigation. "[T]he power to stay proceedings is incidental to the power inherent




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in every court to control the disposition of the causes on its docket with economy of time and effort

for itself, for counsel, and for litigants." Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).

       Specifically, Plaintiffs claim B challenges the constitutionality of Tennessee's Sexual and

Violent Sexual Offender Registration, Verification, and Tracking Act of 2004 ("the Act"), Tenn.

Code Ann §§ 40-39-201 to -218, (#20(13)~13-52), and claim J challenges the constitutionality of

the cumulative effect of the Sexual Offender Registry combined with Community Supervision for

Life. Tenn. Code Ann. §§40-39-201 to -218 and Tenn. Code Ann. §39-13-524, (#20 (J)113-149).

       On March 24, 2023, Defendants filed a notice of appeal in another sexual offender

registration case involving the same or substantially similar legal 'issues. See Notice, Does #1-9 v.

Lee, 3:21-cv-590 (M.D. Tenn.), ECF No. 138, appeal filed No. 23-5248 (6th Cir.). Oral arguments

for this appeal took place on December 7, 2023. In light of the impact that the Sixth Circuit's

future ruling in Does #1-9 may have on the litigation and analysis in this case, the Plaintiff believes

that it would be the most efficient use of parry and judicial resources to stay this case pending the

Sixth Circuit's ruling.

       The reason for the exception to proceed with the Motion for Partial Summary Judgment is

because it only addresses Claim F dealing with Tennessee's Community Supervision for Life,

which in this claim is a totally separate issue from that of the Sexual Offender Registry. Hence,

the Sixth Circuit ruling would not impact this Motion.

       Should the Court find it beneficial, the Plaintiff can provide updates to the Court every 90

days, or as the Court directs, for the purpose of informing the Court of the status of the Does #1-9

appeal. And, within 30 days of the Sixth Circuit's mandate in Does #1-9, the Plaintiff will file an

update with the Court informing it of Sixth Circuit's decision.




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        Thus, the Plaintiff respectfully requests that the Court grant this motion and

administratively stay of this case.



Respectfully submitted this the 26th day of March 2024.



By      14
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the forgoing document was sent, via Email
and U.S. mail, postage prepaid, to the below Attorneys for Defendants in this action on this the
26th day of March 2024.


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